   Case 1:11-cr-00007-MHT-WC Document 100 Filed 06/20/11 Page 1 of 12




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, SOUTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )     CRIMINAL ACTION NO.
                                   )       1:11cr7-MHT
MONTY ERVIN                        )           (WO)


                        OPINION AND ORDER

    This case is now before the court on a motion filed

by defendant Monty Ervin seeking review of a magistrate

judge’s order detaining him pending trial.                  Ervin has

been charged with tax evasion, conspiracy to defraud the

federal      government,        and       structuring        financial

transactions to avoid federal reporting requirements.

The magistrate judge held an arraignment and detention

hearing on April 20, 2011, and ordered, pursuant to 18

U.S.C. § 3142(f), that Ervin be detained pending trial

“based upon risk of flight.”           Trans. 69:23 (Doc. No. 80).

    A     district   court     reviews     a    magistrate      judge’s

detention orders de novo.              United States v. King, 849

F.2d 485, 489-90 (11th Cir. 1988).             The court may conduct
      Case 1:11-cr-00007-MHT-WC Document 100 Filed 06/20/11 Page 2 of 12




an evidentiary hearing if it “determines that additional

evidence      is    necessary     or   that    factual    issues    remain

unresolved” after reviewing the defendant’s motion; or

the     court      may   rely   on     the    pleadings    and   evidence

considered by the magistrate judge to determine whether

“the magistrate [judge]’s factual findings are supported

and ... the magistrate [judge]’s legal conclusions are

correct.”       Id. at 490.       If the district court finds that

the magistrate judge’s factual findings are supported and

that the legal conclusions are correct, the court may

“explicitly         adopt   the   magistrate      [judge]’s      pretrial

detention order” without writing separate findings of

fact and statement of reasons supporting detention.                        Id.

In a telephone conference before the court on May 18,

2011, the parties agreed to rely on the evidence and

testimony from the April 20 hearing before the magistrate

judge.

       Based on an independent and de novo review of the

evidence, the legal arguments offered by the parties in



                                       2
   Case 1:11-cr-00007-MHT-WC Document 100 Filed 06/20/11 Page 3 of 12




briefing,   and    for    the    reasons   explained     below,     this

district court affirms the magistrate judge’s detention

order.    The court finds that there is “a serious risk

that [Ervin] will flee.”             18 U.S.C. § 3142(f)(2)(A).

Furthermore,      the    court    finds    that   no    condition       or

combination of conditions save detention will reasonably

assure Ervin’s presence at trial and that, therefore, he

must be detained pending trial.

    Two conditions must be met before pretrial detention

may be ordered.     First, one of the seven circumstances in

18 U.S.C. § 3142(f) must be established.                   Under this

provision, the court may order pretrial detention only

after holding a hearing, and a hearing may be held only

if one of the seven circumstances listed in § 3142(f)(1)

and (f)(2) is alleged.           United States v. Byrd, 969 F.2d

106, 109 (5th Cir. 1992); see also United States v.

Ploof, 851 F.2d 7, 11 (1st Cir. 1988) (relating same

procedure); United States v. Friedman, 837 F.2d 48, 49

(2d Cir. 1988) (same).          Second, after the hearing is held



                                    3
   Case 1:11-cr-00007-MHT-WC Document 100 Filed 06/20/11 Page 4 of 12




pursuant     to    §     3142,   the   court     must      find       “that   no

condition or combination of conditions will reasonably

assure the appearance of the person as required and the

safety of the other person and the community.”                        Byrd, 969

F.2d    at   109.         When   the       government      seeks      pretrial

detention because a defendant poses a serious risk of

flight,      the       government’s        burden     of    proof        is   a

preponderance of the evidence.                 United States v. King,

849 F.2d 485, 489 (11th Cir. 1988); United States v.

Medina, 775 F.2d 1398, 1402 (11th Cir. 1985).

       The first condition has been met by the government’s

showing that there is “a serious risk that [Ervin] will

flee.”    18 U.S.C. § 3142(f)(2)(A).             The evidence from the

April 20 hearing establishes a serious risk of flight.

The magistrate judge correctly found as follows: Ervin

“has the means.          He has the money.          He has the will. ...

[T]he    record     is    pretty   clear      that    he   is     a    risk   of

flight.”     Trans. 69:15-18 (Doc. No. 80).




                                       4
   Case 1:11-cr-00007-MHT-WC Document 100 Filed 06/20/11 Page 5 of 12




    The government has produced evidence that Ervin was

on the verge of fleeing the country when U.S. Marshals

arrested him after a four-week search.                 Following the

arrest of his wife (an alleged coconspirator) on January

31, 2011, Ervin told a confidential informant that he was

“going to take an extended vacation.”                Trans. 36:19-20

(Doc. No. 80).        The confidential source advised U.S.

Marshals that Ervin knew he was named in a federal arrest

warrant and that he was planning to leave the country for

South or Central America.              When Ervin was arrested on

March 19, 2011, he had in his possession a notebook with

the address for a boating shop, latitude and longitude

coordinates of islands in the Caribbean, as well as a

list of supplies to procure for a marine voyage.                    This

evidence demonstrates convincingly that Ervin intended to

leave the United States to evade arrest and arraignment

on the current charges.

    Furthermore, the government has produced evidence

that Ervin has a history of concealing assets.                    These



                                   5
   Case 1:11-cr-00007-MHT-WC Document 100 Filed 06/20/11 Page 6 of 12




assets could be used to finance an additional flight

attempt if he were released on bond.             Shortly before his

arrest in Florida, Ervin directed companions to retrieve

buried plumbing tubes he owned.            These tubes, seized by

U.S. Marshals, contained gold with an estimated value of

$ 345,000.     Additionally, evidence was offered showing

that Ervin and his wife made large amounts of money

managing real estate in the names of trustees who had no

knowledge of the properties purportedly administered on

their behalf.      Since his arrest, Ervin has refused to

cooperate with the U.S. Pretrial Services in discussing

any of his current finances.              Given this substantial

history of asset concealment, there is simply no way for

the court to determine what other resources Ervin has at

his disposal.      The government has therefore established

a serious risk that, if released from detention, Ervin

would liquidate or retrieve hidden assets and employ them

in a future attempt to leave the country.




                                   6
     Case 1:11-cr-00007-MHT-WC Document 100 Filed 06/20/11 Page 7 of 12




      Finally, the government has introduced evidence of

statements made by Ervin that the federal government has

no   authority     or     jurisdiction     over    him.      Ervin    sent

several     letters       to   federal    agents     and    prosecutors

purporting to renounce his United States citizenship and

invoking a self-styled sovereign immunity to the federal

investigation       and    charges    against     him.     However,       in

moving the court to overturn his pretrial detention,

Ervin has noted that the Constitution’s First Amendment

protects his right to express a viewpoint that challenges

the government’s authority. Ervin is undoubtedly correct

in that he is entitled to his beliefs, as well as to the

right to express those beliefs, whether widespread or

unusual, pro- or anti-government.

      But, in evaluating the risk of flight, the court does

not seek merely to punish Ervin for his beliefs or

statements about his beliefs. Rather, Ervin has made

specific statements that call into question whether he

will abide by the court’s order to appear at trial; it is



                                     7
      Case 1:11-cr-00007-MHT-WC Document 100 Filed 06/20/11 Page 8 of 12




his conduct, or possible conduct, that is ultimately at

issue, and his statements are relevant only to extent

that they reflect on that conduct.                  Speech or writing

that is or may be part of conduct in violation of a court

order or a criminal statute or, by extension, that may

reflect on whether conduct is or may be in violation of

a court order or a criminal statute is, in general, not

shielded by the First Amendment from consideration by a

court as evidence of the violation.                       See Giboney v.

Empire Storage & Ice Co., 336 U.S. 490, 498 (1949) (“It

rarely has been suggested that the constitutional freedom

for speech and press extends its immunity to speech or

writing used as an integral part of conduct in violation

of a valid criminal statute.”).               Therefore, in addition

to attempted flight and concealment of assets, the court

may take into account Ervin’s repeated assertions that

any     court    proceeding       against     him    is    intrinsically

invalid.      Ervin’s denial of his United States citizenship

and rejection of federal authority to try him reinforces



                                      8
     Case 1:11-cr-00007-MHT-WC Document 100 Filed 06/20/11 Page 9 of 12




the court’s assessment of his conduct if released pending

trial: that there is a serious risk that he will seek to

leave the country in the face of the pending criminal

charges.

      Having determined that the government has established

a    serious     risk    of    flight      pursuant     to    18   U.S.C.

§ 3142(f)(2)(A), the court must now determine whether any

“condition or combination of conditions will reasonably

assure the appearance of ... [Ervin] as required and the

safety of any other person and the community.”                 Byrd, 969

F.2d at 109; see also 18 U.S.C. § 3142(e).                     The court

finds that the evidence from the April 20 hearing, as

previously related, establishes that no condition will

reasonably assure Ervin’s appearance.

      First, the language of § 3142(e) requires that,

before Ervin may be released, the court must find that

there is a condition or combination of conditions that

will assure both his appearance at trial and the safety

of   any   other    person     and   the    community;       unless   both



                                     9
   Case 1:11-cr-00007-MHT-WC Document 100 Filed 06/20/11 Page 10 of 12




assurances are satisfied, detention is warranted.                    See

also United States v. Fortna, Jr., 769 F.2d 243, 249 (5th

Cir. 1985) (“The wording of the Act, particularly the

first sentence of section 3142(e), makes it evident that

the     lack     of    reasonable      assurance      of    either   the

defendant's appearance or the safety of others or the

community       is    sufficient;      both    are    not   required.”)

(emphasis in original) (footnote omitted).                  Because the

court     finds       that    no   condition     or   combination        of

conditions will assure Ervin’s appearance at trial were

he to be released from detention, the court need not

address        whether       any   condition     or   combination        of

conditions will assure the safety of the community.

      In support of his motion to overturn his pretrial

detention, Ervin has made a proffer to the court that his

mother, son, and daughter will put up their property as

security for a bond of release.                Ervin argues that this

condition in combination with electronic monitoring will

deter a potential flight attempt.



                                     10
    Case 1:11-cr-00007-MHT-WC Document 100 Filed 06/20/11 Page 11 of 12




       Under the circumstances, the proffer does not provide

reasonable assurance of Ervin’s presence at trial.                     Ervin

has concealed substantial assets in the past.                    There is

a   strong     likelihood      that   he     would    simply    use    these

finances to reimburse his relatives for any loss after

fleeing from the country.

       To determine whether there are conditions of release

that will reasonably assure a defendant’s appearance at

trial, courts must also consider, among other things, the

defendant’s “character ... [and] financial resources.”

18 U.S.C. § 3142(g)(3)(A).                 There is ample evidence in

this    case    that    no    conditions      of   release     can    assure

Ervin’s      presence    at    trial.        First,    the   evidence     is

overwhelming that Ervin is ready, willing, and able to

abscond if given the chance.                 Second, Ervin apparently

does not even acknowledge the court’s authority to set

conditions of release.           His attempted flight, concealed

assets, and rejection of federal authority present not

only a serious risk, but a certainty, that he will flee



                                      11
  Case 1:11-cr-00007-MHT-WC Document 100 Filed 06/20/11 Page 12 of 12




if released from detention.         His flight can be prevented

by no means other than pretrial detention.                 For all of

the above reasons, the court will order Ervin detained

pending trial.

                                 ***

    Accordingly, it is ORDERED as follows:

    (1) Defendant Monty Ervin’s motion for revocation of

         detention order (Doc. No. 78) is denied.

    (2) The order of the magistrate judge entered on

         April 20, 2011 (Doc. No. 68), is affirmed.

    DONE, this the 20th day of June, 2011.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
